               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 20-5


UNITED STATES OF AMERICA,                   )
                                            )
Vs.                                         )           ORDER
                                            )
KEITH ARTHUR VINSON.                        )
                                            )
____________________________________        )


        THIS MATTER came before the undersigned pursuant to the Government

Motion to Unseal and Disclose Documents and Testimony Regarding Appointment

of Counsel (#312) filed by the Government. At the call of the matter on for

hearing, Defendant’s counsel, John Clark Fischer requested that the hearing of the

motion be continued and that Mr. Fischer be allowed a period of time to respond in

writing to the motion. The Government objected to the motion to continue. After

considering the arguments of counsel for Defendant and the Assistant United

States Attorney, the undersigned determined to enter an order allowing the motion

to continue the hearing. Defendant’s counsel will be allowed up to and including

March 3, 2014 to respond in writing to the Government’s Motion (#312). The

Government will then be allowed up to and including March 10, 2014 to file a

Reply and thereafter the undersigned will enter an order based upon the written

documents in favor or against the motion.
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                                   ORDER

      IT IS, THEREFORE, ORDERED that the Court allows Defendant’s oral

motion to continue the hearing in regard to the Government Motion to Unseal and

Disclose Documents and Testimony Regarding Appointment of Counsel (#312). It

is ORDERED that Defendant’s counsel shall have up to and including March 3,

2014 to file a response to the motion and the Government will be allowed up to

and including March 10, 2014 to reply. The undersigned will then enter an Order

based upon the written pleadings regarding this issue without scheduling further

hearing.

                                                  Signed: February 25, 2014




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